Case 2:23-cv-07952-RGK-MAR Document 58-2 Filed 12/29/23 Page 1 of 3 Page ID #:320




                              EXHIBIT B
                   To Affidavit of Service
   Case 2:23-cv-07952-RGK-MAR Document 58-2 Filed 12/29/23 Page 2 of 3 Page ID #:321


Kyndra Griffin




From: auto-reply@usps.com <auto-reply@usps.com>
Sent: Thursday, December 28, 2023 10:39 PM
To: Kyndra Griffin <KGriffin@ij.org>
Subject: USPS® Item Delivered, Individual Picked Up at Postal Facility 9589071052701400878593


                                            ~ UNITED ST/JTES
                                           ~ POST/JL SERVICE®

   Hello Kyndra Griffin,

   Your item was picked up at a postal facility at 4:57 am on December 26,
   2023 in WASHINGTON, DC 20530.

   Tracking Number: 9589071052701400878593


                     Delivered, Individual Picked Up at Postal Facility




                                        Tracking & Delivery Options


                                                 My Account




                                                         1
   Case 2:23-cv-07952-RGK-MAR Document 58-2 Filed 12/29/23 Page 3 of 3 Page ID #:322


Kyndra Griffin




From: auto-reply@usps.com <auto-reply@usps.com>
Sent: Thursday, December 28, 2023 10:41 PM
To: Kyndra Griffin <KGriffin@ij.org>
Subject: USPS® Item Delivered, Front Desk/Reception/Mail Room 9589071052701400878609


                                         ~ UNITED ST/JTES
                                        ~ POST/JL SERVICE®

   Hello Kyndra Griffin,

   Your item was delivered to the front desk, reception area, or mail room at
   1:36 pm on December 26, 2023 in LOS ANGELES, CA 90012.

   Tracking Number: 9589071052701400878609


                       Delivered, Front Desk/Reception/Mail Room




                                     Tracking & Delivery Options


                                             My Account




                                                     1
